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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: October 10, 2023.

                                                                           __________________________________
                                                                                   SHAD M. ROBINSON
                                                                           UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

       In re:                                              §
                                                           §        Case No. 23-10164-smr
       ASTRALABS, INC.,                                    §
                                                           §        Chapter 7
                Debtor.                                    §

                ORDER GRANTING TRUSTEE’S SECOND MOTION FOR EXTENSION
                OF DEADLINE TO ASSUME OR REJECT EXECUTORY CONTRACTS

                CAME ON FOR CONSIDERATION the Second Motion for Extension of Deadline to

   Assume or Reject Executory Contracts (the “Motion”) 1 filed by Randolph N. Osherow, not

   individually but in his capacity as the duly appointed chapter 7 trustee (in such capacity,

   the “Trustee”), for and on behalf of ASTRALABS, Inc. (the “Debtor”) under the above-captioned

   chapter 7 bankruptcy case (the “Bankruptcy Case”). After having considered the Motion and the

   record before it, the Court finds and determines that: (i) the Court has jurisdiction over this matter

   pursuant to 28 U.S.C. § 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

   (iii) the Court may enter a final order consistent with Article III of the United States Constitution;


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         Capitalized terms used herein, not otherwise defined, shall be given the meaning ascribed in the Motion.



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   (iv) venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

   and 1409; (v) notice of the Motion and opportunity for a hearing on the Motion were appropriate

   under the particular circumstances and no other notice need be provided; (vi) the legal and factual

   bases set forth in the Motion establish cause for the relief granted herein; and (vii) the relief

   requested in the Motion is in the best interests of the Debtor, its estate, creditors, and all

   parties-in-interest; therefor, IT IS HEREBY ORDERED THAT:

           1.       The Motion is granted as set forth herein.

           2.       The time period within which the Trustee must assume or reject Executory

   Contracts pursuant to section 365(d)(1) of the Bankruptcy Code is extended through January 15,

   2024.

           3.       This Order is without prejudice to the right of the Trustee to request additional

   extensions of time to assume or reject the Executory Contracts consistent with section 365(d)(1)

   of the Bankruptcy Code.

           4.       Nothing contained herein nor any actions taken pursuant to such relief is intended

   or should be construed as a determination or admission that any pre-petition agreement, contract,

   or warrant constitutes an executory contract or unexpired lease subject to the provisions of

   section 365(d)(1) of the Bankruptcy Code and all parties’ rights are reserved with respect to such

   determination.

           5.       The relief granted by this Order shall not impair the right or ability of the Trustee

   to assume or reject any Executory Contracts.

           6.       The Trustee is authorized to take all actions necessary to effectuate the relief

   granted in this Order in accordance with the Motion.




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          7.      The Court retains exclusive jurisdiction with respect to all matters arising from or

   related to the implementation, interpretation, and enforcement of this Order.

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   Order respectfully submitted by:
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